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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


SYMBOLOGY INNOVATIONS LLC,       §
                                 §
      Plaintiff,                 §                   CASE NO. 3:19-cv-00377-jdp
                                 §
      v.                         §
                                 §
NATIONAL PRESTO INDUSTRIES, INC. §
D/B/A PRESTO                     §                     JURY TRIAL DEMANDED
                                 §
      Defendant.                 §



                  JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC and Defendant National Presto Industries, Inc. d/b/a

Presto, pursuant to Fed. R. Civ. P. 41 (a), hereby move for an order dismissing all claims by

Plaintiff against Defendant with prejudice and counterclaims by Defendant against Plaintiff

without prejudice, with each party to bear its own costs, expenses and attorney’s fees.

 Dated: July 2, 2019                           Respectfully Submitted,

 FISH & RICHARDSON P.C.                        FERRAIUOLI LLC
 By: /s/ Neil J. McNabnay                      /s/ Eugenio J. Torres-Oyola
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       Case: 3:19-cv-00377-jdp Document #: 14 Filed: 07/02/19 Page 2 of 2




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                                       COUNSEL FOR PLAINTIFF
                                       SYMBOLOGY INNOVATIONS LLC



SO ORDERED, this ______ day of ______________________, 2019.



                                            ________________________________
                                            Honorable James D. Peterson
